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AO 2458 (Rev. 09/19)                    Judgment in a Criminal Case
                                        Sheet 1



                                                           UNITED STATES DISTRICT COURT
                                                                                  District of Montana
                                                                                              )
                         UNITED STA TES OF AMERICA                                            )      JUDGMENT IN A CRIMINAL CASE
                                                   v.                                         )
                               MORGAN VICTOR PITSCH                                           )                                                          3/23/2020
                                                                                                     Case Number: CR 19-06-H-SEH-04
                                                                                              )
                                                                                              )      USM Number: 17764-046
                                                                                              )
                                                                                              )       James B. Obie (appointed)
                                                                                              )      Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)                            II and Ill of the Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                    Nature of Offense                                                         Offense Ended
 18 U.S.C. § § 1951(a) and 2                       Robbery Affecting Commerce                                                3/8/2019                   II
18 U.S.C. § § 924(c)(1)(Al(if and (ii), and 2      Possession of a Firearm in Furtherance of a Crime of Violence             3/8/2019                   Ill



       The defendant is sentenced as provided in pages 2 through                                   _7----~~ of this judgment The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)

~ Count(s)                                                                @is          Dare dismissed on the motion of the United States.
                           ----~----·----
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                            3/23/2020




                                                                                                         Sam E. Haddon, United States District Judge
                                                                                            Name and Title of Judge


                                                                                                                            3/23/2020
                                                                                            Date
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                      Judgment - Page __ _2__ of   7
 DEFENDANT: MORGAN VICTOR PITSCH
 CASE NUMBER: CR 19-06-H-SEH-04

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
   18 months on Count II and 60 months on Count Ill, consecutive.




     ~ The court makes the following recommendations to the Bureau of Prisons:
           It is the recommendation of the Court that the Defendant be placed in the federal correctional facility in Sheridan,
           Oregon, if deemed eligible for placement at that facility.




     Ill The defendant is remanded to the custody of the United States Marshal.
     D    The defendant shall surrender to the United States Marshal for this district:

          D at      _______                      D a.m.       D p.m.         on
          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on

         D as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                           to
at                                                 with a certified copy of this judgment.



                                                                                                  UNITEIJ STATES MARSHAL


                                                                        By
                                                                                               DEPUTY UNITED STA TES MARSHAL
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 AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                             Judgment-Page _ _ _ of
 DEFENDANT: MORGAN VICTOR PITSCH
 CASE NUMBER: CR 19-06-H-SEH-04
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a tenn of:

     3 years on Count II and 5 years on Count 111, concurrent one with the other.




                                                       MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check ifapplicable)
4.      D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.      lfl" You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 I, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualit)'ing offense. (check if applicable)
7.      D You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                 Judgment-Page _ _ _ . _ o f - - - ~ -
DEFENDANT: MORGAN VICTOR PITSCH
CASE NUMBER: CR 19-06-H-SEH-04

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least JO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. lfyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least I 0
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
l I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet JD- Supervised Release
                                                                                           Judgment-Page   _5___   of    7
DEFENDANT: MORGAN VICTOR PITSCH
CASE NUMBER: CR 19-06-H-SEH-04

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant must participate in a program for mental health treatment as approved by the probation office. The
 defendant must remain in the program until he is released by the probation office in consultation with the treatment
 provider. The defendant must pay part or all of the costs of this treatment as directed by the probation office.

 2. The defendant must comply with violent offender registration requirements for convicted offenders in any state in which
 he resides.

 3. The defendant must abstain from the consumption of alcohol and shall not enter establishments where alcohol is a
 primary item of sale. The defendant must not knowingly enter any dwelling or house where there is an active or ongoing
 use, abuse or consumption of alcohol or controlled substances and shall not knowingly enter or stay in any dwelling or
 house where there is one or more persons who are consuming alcohol or participating in the consumption of alcoholic
 beverages or controlled substances, without the prior written approval of the supervising probation officer. The defendant
 must not knowingly enter any automobile where a person possesses or is consuming alcohol or controlled substances.
 The defendant must not have any controlled substances that are not prescribed by a licensed medical doctor and supplied
 by a licensed medical pharmacy.

 4. The defendant must submit his person, residence, place of employment, vehicles, and papers, to a search, with or
 without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
 condition of release. Failure to submit to search may be grounds for revocation. The defendant must warn any other
 occupants that the premises rnay be subject to searches under the terms of this condition. The defendant must allow
 seizure of suspected contraband for further examination.

 5. The defendant must participate in and successfully complete a program of substance abuse treatment as approved by
 United States Probation. The defendant must remain in the program until he is released by the probation office in
 consultation with the treatment provider. The defendant must pay part or all of the costs of this treatment as directed by
 United States Probation.

 6. The defendant must participate in substance abuse testing to include not more than 365 urinalysis tests, not more than
 365 breathalyzer tests, and not more than 36 sweat patch applicatiqns annually during the period of supervision. The
 defendant must pay part or all of the costs of testing as directed by United States Probation.

 7. The defendant must not possess, ingest or inhale any psychoactive substance that is not manufactured for human
 consumption for the purpose of altering his mental or physical state. Psychoactive substances include, but are not limited
 to, synthetic marijuana, kratom or synthetic stimulants such as bath salts and spice.

 8. The defendant must not purchase, possess, use, distribute or administer marijuana, including marijuana that is used for
 recreational or medicinal purposes under state law.
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AO 2458 (Rev. 09/19)   Judgment in a Crimina1 Case
                       Sheet 5 - Criminal Monetary Penalties

                                                                                                               Judgment -   Page   -~6~_    of
 DEFENDANT: MORGAN VICTOR PITSCH
 CASE NUMBER: CR 19-06-H-SEH-04
                                                 CRIMINAL MONETARY PENAL TIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                   Fine                      AV AA Assessment*              JVT A Assessment**
 TOTALS           $    200.00               $    N/A                      $   N/A                   $   N/A                        $   N/A


 D   The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be
                                                        -----
     entered after such detennination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority or?er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States 1s paid.

 Name of Payee                                                 Total Loss***                        Restitution Ordered            Priority or Percentage




TOTALS                              $ _ _ _ __                 0.00                  $                        0.00


D     Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     D    the interest requirement is waived for the           D       fine    D     restitution.
     D    the interest requirement for the         D    fine       D     restitution is modified as follows:

'Amy, Vicky, and Andy Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of2015, Pub. L. No, 114-22.
'*' Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page   7_    of
 DEFENDANT: MORGAN VICTOR PITSCH
 CASE NUMBER: CR 19-06-H-SEH-04


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A
      •     Lump sum payment of$         ------···
                                                              due immediately, balance due

            •     not later than                                  , or
            •     in accordance with
                                         •    C,
                                                    •    D,
                                                              •    E, or
                                                                            • F below; or
 B    •     Payment to begin immediately (may be combined with             DC,      DD,or        D F below); or

 C    D     Payment in equal            _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                           (e.g., months or years). to commence_ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D    D     Payment in equal        _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                          (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E    D     Payment during the term of supervised release will commence within      ____ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     Ill   Special instructions regarding the payment of criminal monetary penalties:
             Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
             payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
            the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
            the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807 ••As~essment Morgan Victor Pitsch ...


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several                Corresponding_ Payee,
      (including defendant number)                        Total Amount                    Amount                          1f appropriate




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments sh~ll be applied _in the following ord,r: (I) ~se_ssment, (2) restitution principal, (3) restitution interest, (4) A VAA assessment,
(5) fine P,rmc,pal, (6) fine mterest, (7) commumty rest1tut1on, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecut10n and court costs.
